      Case: 24-50180   Document: 23    Page: 1   Date Filed: 03/22/2024

                              No. 24-50180

      In the United States Court of Appeals
              for the Fifth Circuit
NATIONAL INFUSION CENTER ASSOCATION, on behalf of itself and
 its members; GLOBAL COLON CANCER ASSOCATION, on behalf of
     itself and its members; PHARMACEUTICAL RESEARCH AND
MANUFACTURERS OF AMERICA, on behalf of itself and its members,
                                        Plaintiffs-Appellants,
                                     v.
XAVIER BECERRA, Secretary, U.S. Department of Health and Human
    Services; UNITED STATES DEPARTMENT OF HEALTH AND
  HUMAN SERVICES; CHIQUITA BROOKS-LASURE, in her official
    capacity as Administrator of the Centers for Medicare and Medicaid
Services; CENTERS FOR MEDICARE AND MEDICAID SERVICES,
                                        Defendants-Appellees.

 On Appeal from the U.S. District Court for the Western District of Texas
                No. 1:23-cv-707 (Hon. David Alan Ezra)
APPELLANTS’ UNOPPOSED MOTION TO EXPEDITE BRIEFING
                 AND ARGUMENT
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       Case: 24-50180     Document: 23       Page: 2   Date Filed: 03/22/2024




              CERTIFICATE OF INTERESTED PERSONS

      Pursuant to Fifth Circuit Rules 27.4 and 28.2.1, undersigned counsel

certifies that the following listed persons and entities as described in the

fourth sentence of Rule 28.2.1 have an interest in the outcome of these appeals.

These representations are made in order that the judges of this Court may

evaluate possible disqualification or recusal.

      1.    Plaintiff-Appellant the National Infusion Center Association

(NICA). The following attorneys have represented NICA in this case:

            Tim Cleveland, Austin Krist, Ibituroko-Emi Lawson, McKenzie
            Edwards and Gerard Bifulco of Cleveland Krist LLC.

      2.    Plaintiff-Appellant the Global Colon Cancer Association

(GCCA). GCCA does not have a parent corporation, and no publicly held

corporation owns 10% or more of its stock. The following attorneys have

represented GCCA in this case:

            Michael Kolber and Megan Thibert-Ind of Manatt, Phelps &
            Phillips LLP.

      3.    Plaintiff-Appellant       Pharmaceutical             Research       and

Manufacturers of America (PhRMA). PhRMA does not have a parent

corporation, and no publicly held corporation owns 10% or more of its stock.

The following attorneys have represented PhRMA in this case:



                                         i
       Case: 24-50180   Document: 23        Page: 3   Date Filed: 03/22/2024




           Jeffrey Handwerker, John Elwood, Allon Kedem, William Perdue,
           and Allissa Pollard of Arnold & Porter Kaye Scholer LLP.

     4.    Defendant-Appellees Xavier Becerra, the U.S. Department of

Health and Human Services, Chiquita Brooks-Lasure, and the Centers for

Medicare and Medicaid Services. The following attorneys have represented

the Government in this case:

           Brian M. Boynton, Jaime Esparza, Michelle R. Bennett, Stephen
           M. Pezzi, Christine L. Coogle, and Alexander V. Sverdlov.




Dated: March 22, 2024                        /s/ John Elwood
                                             John Elwood

                                             Counsel for Appellant
                                             Pharmaceutical Research and
                                             Manufacturers of America




                                       ii
         Case: 24-50180   Document: 23       Page: 4   Date Filed: 03/22/2024




      Pursuant to Fed. R. App. P. 2 and 5th Cir. R. 27.5 and 34.5, Plaintiffs-

Appellants the National Infusion Center Association (NICA), the Global Colon

Cancer     Association    (GCCA),    and       Pharmaceutical      Research     and

Manufacturers of America (PhRMA) respectfully request that the Court

expedite this appeal of the district court’s order dismissing Plaintiffs’ claims

for lack of subject-matter jurisdiction and improper venue. Defendants-

Appellees Xavier Becerra, the U.S. Department of Health and Human

Services (HHS), Chiquita Brooks-LaSure, and the Centers for Medicare and

Medicaid Services (collectively, the Government) does not oppose the

proposed schedule.

                               INTRODUCTION

      This lawsuit challenges an unconstitutional statute that already inflicts

massive harm on Plaintiffs. Expedited briefing and argument is necessary to

correct course after the district court’s erroneous refusal to exercise

jurisdiction. The Government will not be prejudiced by expedition; indeed, the

Government indicated below that it “share[s] [Plaintiffs’] desire to get this all

resolved as soon as we can.”

      In 2022, Congress passed the Inflation Reduction Act (IRA), ending

decades of a market-based system for reimbursing prescription drugs in favor



                                         1
       Case: 24-50180    Document: 23       Page: 5   Date Filed: 03/22/2024




of   government-dictated    price   controls.     The    IRA     mandates      sham

“negotiations” whereby the government sets a “maximum fair price” for

certain selected drugs—some of the most innovative and widely used.

Pharmaceutical manufacturers must either accept these government-imposed

prices or face draconian penalties. Left in place, this new regime will

dramatically slow innovation, reduce the availability of new medicines, and

undermine public health, causing grave harm to patients, pharmaceutical

manufacturers, and healthcare providers.

      In fact, the IRA has already begun to harm Plaintiffs. The Act inflicts

quintessential procedural injuries on Plaintiffs,            depriving them of

constitutionally required due process, impermissibly delegating legislative

power to HHS, and coercing compliance via excessive fines. Indeed, despite

having foreclosed input at key stages and purported to preclude challenges to

agency decisions implementing the program, the Secretary announced the

first ten selected drugs on August 29, 2023. PhRMA’s members manufacture

eight of them and thus have been forced into the first round of “negotiations,”

which is scheduled to run until August 1, 2024, with HHS publishing the

maximum “fair” price the following month. The first list includes drugs

administered and dispensed by members of Plaintiff NICA, limiting their



                                        2
       Case: 24-50180    Document: 23       Page: 6   Date Filed: 03/22/2024




ability to raise funding. As a result, every day, manufacturers and providers

are being subjected to unconstitutional agency proceedings. And every day,

they are forced to make major business decisions in response that have

significant consequences for patients and the public.

      In June 2023, Plaintiffs challenged the IRA’s constitutionality in the

Western District of Texas.1 Given the IRA’s impending deadlines, the parties

agreed to an expedited schedule in which they would proceed directly to cross-

motions for summary judgment. Shortly after Plaintiffs filed their motion for

summary judgment, however, the Government reneged on the agreement,

requested that the district court vacate the joint scheduling order, and moved

to dismiss NICA’s claims for lack of subject-matter jurisdiction. The district

court ultimately granted the Government’s motion. With NICA dismissed, the

court concluded that venue was no longer proper as to GCCA and PhRMA.




1
  Plaintiffs’ suit is one of many challenging the IRA’s constitutionality. See
Merck & Co. v. Becerra, No. 1:23-01615 (D.D.C.); Dayton Area Chamber of
Commerce v. Becerra, No. 3:23-cv-156 (S.D. Ohio); Bristol Myers Squibb Co.
v. Becerra, No. 3:23-03335 (D.N.J.); Astellas Pharma US, Inc. v. HHS, No.
1:23-cv-4578 (N.D. Ill.); Janssen Pharms., Inc. v. Becerra, No. 3:23-cv-3818
(D.N.J); Boehringer Ingelheim Pharms., Inc. v. HHS, No. 3:23-cv-1103 (D.
Conn.); AstraZeneca Pharmaceuticals LP v. Becerra, No. 1:23-cv-00931 (D.
Del.); Novartis Pharmaceuticals Corp. v. Becerra, No. 2:23-cv-14221 (D.N.J.);
Novo Nordisk, Inc. v. Becerra, No. 3:23-cv-20814 (D.N.J.).


                                        3
       Case: 24-50180    Document: 23       Page: 7   Date Filed: 03/22/2024




      Good cause exists to expedite this appeal. The constitutional harms

inflicted on Plaintiffs are irreparable. And as more of the IRA’s statutory

deadlines are triggered, it will become increasingly difficult to unwind the

Act’s other harmful effects. Because Plaintiffs’ proposed timeline will not

prejudice the Government, and the Government does not oppose the proposed

schedule, this Court should grant Plaintiffs’ motion.

                              BACKGROUND

      A.    The Inflation Reduction Act

      The IRA upends Medicare’s traditional market-based system. Although

the statute directs HHS to establish a “Drug Price Negotiation Program,” 42

U.S.C. § 1320f(a) (emphasis added), the statute in fact empowers HHS to set

drug prices by administrative fiat.

      HHS Ranks and Selects “Negotiation-Eligible Drugs”

      The IRA directs HHS to rank “negotiation-eligible drugs” based on

Medicare’s total annual expenditures. Id. § 1320f–1(b)(1)(A). Drugs with the

highest total expenditures are ranked highest. Id. The IRA directs HHS to

select ten Part D drugs in 2023, with government-imposed “maximum fair

prices” taking effect in 2026; then an increasing number of the highest-ranked

drugs will be selected annually. Id. § 1320f–1(a)(1)–(4). Part B drugs will be



                                        4
        Case: 24-50180    Document: 23       Page: 8   Date Filed: 03/22/2024




added beginning in 2026, with maximum prices taking effect in 2028. Id.

§ 1320f–1(a)(1), (3). The first ten drugs were selected on August 29, 2023. See

HHS Selects the First Drugs for Medicare Drug Price Negotiation,

bit.ly/4367QNC.

      HHS Sets “Maximum Fair Prices” Through Sham “Negotiations”

      Once drugs are selected, the IRA directs HHS to “enter into agreements

with manufacturers” to “negotiate to determine (and … agree to) a maximum

fair price.” Id. §§ 1320f–2(a), (a)(1). Manufacturers of drugs on the first list of

selected drugs were required to enter into these “agreements” by October 1,

2023. Id. §§ 1320f(d)(2)(A), 1320f–2(a). The ensuing “negotiations” must

conclude by August 1, 2024. Id. §§ 1320f(d)(5), 1320f–3(b)(2)(E).

      While    the    IRA’s     “negotiation”      process    includes    a     sham

offer/counteroffer framework, id. § 1320f–3(b)(2)(C)–(D), that is where any

resemblance to ordinary commercial negotiations ends. The IRA places a

“ceiling” on how high a price HHS can offer. Id. § 1320f–3(c). But with one

minor exception, the statute does not limit how low a price HHS can demand,

id. § 1320f–3(b)(2)(F), and it commands HHS to “aim[ ] to achieve the lowest

maximum fair price,” id. § 1320f–3(b)(1). While HHS must “consider” specified




                                         5
         Case: 24-50180    Document: 23       Page: 9   Date Filed: 03/22/2024




“factors,” the IRA sets no criteria for how HHS must weigh them. Id. § 1320f–

3(e).

        Once HHS has imposed a price, the manufacturer must provide “access

to such price to” individuals, pharmacies, providers, and other entities

participating in Medicare. Id. § 1320f–2(a)(1). Manufacturers that fail to do so

must pay a per-unit penalty of ten times the difference between the price

charged and the HHS-imposed price. Id. § 1320f–6(b).

        Noncompliant Manufacturers Must Pay a Crippling “Excise Tax”

        The linchpin of the IRA’s forced-negotiation scheme is a so-called

“excise tax”—a steep, escalating penalty for every day the manufacturer has

not, by the deadline, (1) entered into an “agreement” to “negotiate” a price, or

(2) “agreed” to the price that HHS imposes. 26 U.S.C. § 5000D(b). While

labeled an “excise tax,” it is intended to coerce rather than to raise revenue.

        The size of this “tax” is staggering. By the terms of the statute, the tax

applies to all U.S. sales of the drug, not just Medicare sales. See id. The tax is

calculated based on a high “applicable percentage” of the drug’s total cost

(price plus tax) that increases for each quarter of noncompliance. Id.

§ 5000D(d). Per the Congressional Research Service, “[t]he excise tax rate”

thus “range[s] from 185.71% to 1,900% of the selected drug’s price depending



                                          6
       Case: 24-50180   Document: 23       Page: 10   Date Filed: 03/22/2024




on the duration of noncompliance.” CRS, Tax Provisions in the Inflation

Reduction Act of 2022 (H.R. 5376) 4 (Aug. 10, 2022).

      The excise-tax penalty will not be “[s]uspen[ded],” 26 U.S.C. § 5000D(c),

unless the manufacturer withdraws all of its drugs from Medicare Part D,

Medicare Part B, and Medicaid. See id.; 42 U.S.C. § 1396r-8(a)(1). That would

leave Medicare and Medicaid participants without access to badly needed

medications. ECF 1 ¶¶ 118, 126. 2

      B.    The Proceedings Below

      Plaintiffs filed their Complaint on June 21, 2023. ECF 1. Plaintiffs

asserted three claims, arguing that the IRA violates (1) the separation of

powers and the nondelegation doctrine, (2) the Eighth Amendment’s

Excessive Fines Clause, and (3) the Fifth Amendment’s Due Process Clause.

      In July, the parties conferred regarding the case schedule. ECF 41 at

1–2. Plaintiffs explained the need to expedite the case given the IRA’s

impending deadlines. Id. To avoid the need to seek a preliminary injunction or

other extraordinary relief, Plaintiffs suggested that the parties move directly

to cross-motions for summary judgment. Id. at 2. The Government agreed and



2
 All ECF citations are to the docket below, Nat’l Infusion Ctr. Ass’n v.
Becerra, No. 1:23-CV-707 (W.D. Tex.).


                                       7
       Case: 24-50180     Document: 23       Page: 11   Date Filed: 03/22/2024




affirmed that it “share[d] [Plaintiffs’] desire to get this all resolved as soon as

we can.” Id.

      The parties jointly proposed an expedited schedule, ECF 33, which the

district court entered, ECF 34. On August 10, 2023, Plaintiffs moved for

summary judgment, just seven weeks after filing the Complaint. ECF 35.

Based on the parties’ agreement, the Government’s cross-motion for summary

judgment was due on September 29, 2023, with briefing set to be completed

by November 17, 2023. ECF 34.

      But rather than cross-move for summary judgment, the Government

reneged on the parties’ agreement, successfully moved to vacate the joint

scheduling order over Plaintiffs’ opposition, and moved to dismiss. See ECF

39–40, 45. The Government argued that NICA lacks standing because it has

not suffered a cognizable injury and, regardless, did not exhaust its

administrative remedies. See ECF 39 at 1–3. And because NICA is the only

Plaintiff that “resides” in the Western District of Texas for venue purposes,

the Government argued that the district court should dismiss the case for lack

of venue. Id.

      In a 13-page decision, the district court dismissed the case for lack of

subject-matter jurisdiction and improper venue. ECF 53 at 12–13. The court



                                         8
       Case: 24-50180    Document: 23       Page: 12   Date Filed: 03/22/2024




ruled solely on the ground that NICA failed to present its claim to the relevant

agency and exhaust purported administrative remedies. Id. at 6–12. The court

held that NICA’s claims “arise under the Medicare Act and [that] Section

405(h) channeling [thus] applies.” Id. at 10. Because NICA did not submit its

constitutional challenges to HHS before filing suit, the court concluded that it

lacked subject-matter jurisdiction over NICA. Id. at 10–12. Without NICA,

the court held that venue was improper as to GCCA and PhRMA. Id. at 12–13.

                                ARGUMENT

      This Court may expedite an appeal, including entering an abbreviated

briefing scheduling and advancing the case for hearing, for “good cause.”

5th Cir. R. 27.5 and 34.5. Good cause exists here because the IRA is causing

ongoing, irreparable harm to Plaintiffs; the dispute presents purely legal

questions; and the Government does not oppose and cannot show prejudice

from a modestly accelerated timeline.

I.    Both Sides Have an Interest in Resolving Challenges to the IRA’s
      Constitutionality Expeditiously

      The district court’s jurisdictional dismissal here threatens to add

substantial delay to Plaintiffs’ challenge to the IRA. Meanwhile,

“negotiations” have already begun, and manufacturers are already being

compelled to participate in an unconstitutional process. Providers likewise are


                                        9
       Case: 24-50180    Document: 23    Page: 13    Date Filed: 03/22/2024




seeing their interests harmed by that same unconstitutional process, and are

already facing additional barriers to raising capital as a result. The

Government, in turn, continues to enforce a statutory regime the

constitutionality of which remains undecided by any appellate court. Because

neither side benefits from the IRA’s legal limbo, this Court should expedite

briefing and argument.

      Every day the IRA’s drug pricing regime remains in effect it inflicts

serious procedural harms on Plaintiffs. Being “deprived of ‘a procedural right

to protect [one’s] concrete interests’” is an immediate injury. Texas v. EEOC,

933 F.3d 433, 447 (5th Cir. 2019) (citation omitted). Likewise, “subjection to an

unconstitutionally   structured     decisionmaking    process”—such      as   “an

agency … wielding authority unconstitutionally”—is an injury “irrespective of

[the] outcome.” Axon Enter. v. FTC, 598 U.S. 175, 189, 192 (2023). “The loss is

not merely the subsequent deprivation, but the right not to suffer a

deprivation without proper process.” Bertulli v. Indep. Ass’n of Cont’l Pilots,

242 F.3d 290, 295 (5th Cir. 2001). It is “being compelled to participate in an

invalid administrative process” in the first place. Texas v. United States, 497

F.3d 491, 496-97 (5th Cir. 2007).




                                        10
        Case: 24-50180    Document: 23    Page: 14   Date Filed: 03/22/2024




      The IRA is already subjecting manufacturers and providers to an

unconstitutional agency procedure, inflicting constitutional harm now. First,

the IRA fails to provide Plaintiffs even rudimentary due process: “The

Act . . . fail[s] to provide manufacturers, providers, and patients with any

opportunity to weigh in on key determinations by HHS on the ‘front’ end (i.e.,

before decisions are made) and by foreclosing judicial and administrative

review of those determinations on the ‘back’ end (i.e., after decisions have been

made).” ECF 1 ¶ 146. Second, the IRA operates via an unconstitutional

delegation of legislative power to HHS. Congress unconstitutionally

“delegated unfettered discretion to HHS to set prices,” which is “a wholly

legislative function.” Id. ¶¶ 75, 79. Finally, the entire “negotiation” process is

enforced through the threat of unconstitutionally excessive fines.

      The IRA’s statutory deadlines continue to roll out at a steady clip. In

August 2023, HHS selected the first ten drugs for “negotiation,” including

drugs that PhRMA’s members manufacture and NICA’s members dispense

and administer.3 CMS, Medicare Drug Price Negotiation Program: Selected

Drugs    for   Initial   Price   Applicability   Year    2026   (August       2023),


3
  The first list of selected drugs includes Stelara®, which several NICA mem-
bers dispense and administer, and for which they are reimbursed under Med-
icare. ECF 47 at 13–14.


                                         11
       Case: 24-50180    Document: 23    Page: 15    Date Filed: 03/22/2024




https://bit.ly/3Ewqkvg. Manufacturers of selected drugs were required to

enter “agreements” to “negotiate” with HHS by October 1, 2023. Those

negotiations are ongoing and must be completed by August 1, 2024, with

publication of the so-called “maximum fair price” for selected drugs a month

later. Given their lack of input and opportunity to challenge the agency’s

determinations, Plaintiffs will continue to suffer the “here-and-now injury,”

Axon Enter., 598 U.S. at 192, of “being compelled to participate in [this] invalid

administrative process,” Texas, 497 F.3d at 496–97. Every day that goes by

without a merits ruling compounds that procedural harm.

      Plaintiffs are already experiencing monetary harms as well. As long as

the sham “negotiations” continue, manufacturers and providers must make

significant, long-term business decisions to account for their effects. For

example, manufacturers must decide on research and development

investments years in advance, and they cannot make informed decisions while

awaiting a ruling on the constitutionality of the IRA’s drug-pricing regime.

And the IRA “is already impacting the ability of NICA’s members,” some of

whom “are currently courting private equity investments,” “to raise debt and

equity funding.” ECF 47-2 ¶ 20. Even if Plaintiffs ultimately prevail in this

lawsuit, they will not be able to recover these costs from the Government. See



                                        12
       Case: 24-50180    Document: 23      Page: 16   Date Filed: 03/22/2024




Wages & White Lion Invs., L.L.C. v. U.S. Food & Drug Admin., 16 F.4th 1130,

1142 (5th Cir. 2021) (“Indeed, complying with an agency order later held

invalid almost always produces the irreparable harm of nonrecoverable

compliance costs . . . because federal agencies generally enjoy sovereign

immunity for any monetary damages.”).

      Prompt resolution of this case also will benefit the Government. The

Government is defending numerous lawsuits challenging the drug-pricing

regime, all of which consume significant resources. The Government also

continues to commit substantial resources to implementing the drug-pricing

program, which will be wasted should Plaintiffs prevail.

II.   The Government Cannot Show Prejudice From a Modestly
      Accelerated Timeline Involving Discrete Legal Questions

      Plaintiffs’   proposed   briefing    schedule   will   not   prejudice   the

Government, both because this appeal presents purely legal questions, and

because the Government has previously expressed its desire to resolve this

dispute quickly.

      In its thirteen-page order, the district court decided only whether

NICA’s claims arose under the Medicare Act, and, if so, whether channeling

those claims through the agency would have foreclosed judicial review. See

ECF 53. The Government briefed that issue in just four-and-a-half pages in


                                          13
       Case: 24-50180    Document: 23    Page: 17    Date Filed: 03/22/2024




the district court. See ECF 39 at 12–14. And although the court did not reach

the issue of Article III standing, that issue turns on the allegations in the

Complaint and two short declarations from Plaintiffs. Given the discrete legal

questions this appeal presents, the proposed schedule below provides the

Government ample time to address Plaintiffs’ arguments.

      Further, the Government agreed to an expedited briefing schedule in

the district court, skipping the answer stage and discovery altogether and

proceeding directly to summary judgment. ECF 33. The Government

confirmed then that it “share[d] [Plaintiffs’] desire to get this all resolved as

soon as we can.” ECF 41 at 2. The Government has not indicated that it would

suffer prejudice as a result of Plaintiffs’ proposed briefing schedule. And the

public interest is served by a speedy ruling on the constitutionality of a process

that will consume substantial public resources.

              CONCLUSION AND PROPOSED SCHEDULE

      For all these reasons, Plaintiffs respectfully request that the Court

expedite the briefing schedule and oral argument in this case. Plaintiffs

propose the following schedule:

      Plaintiffs’ Opening Brief: 28 days from the Court’s order

      The Government’s Opposition Brief: 35 days from Plaintiffs’ brief



                                        14
      Case: 24-50180    Document: 23    Page: 18    Date Filed: 03/22/2024




     Plaintiffs’ Reply Brief: 21 days after the Government’s opposition brief

     Oral argument: June or July 2024, or the Court’s earliest convenience

Dated: March 22, 2024                       Respectfully submitted,

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                                       15
       Case: 24-50180    Document: 23    Page: 19    Date Filed: 03/22/2024




                        CERTIFICATE OF SERVICE

     I hereby certify that on March 22, 2024, the foregoing document was

electronically filed with the Court via the appellate CM/ECF system, and that

copies were served on counsel of record by operation of the CM/ECF system

on the same date.

Dated: March 22, 2024                        /s/ John Elwood
                                             John Elwood

                                             Counsel for Appellant
                                             Pharmaceutical Research and
                                             Manufacturers of America




                                        16
       Case: 24-50180   Document: 23    Page: 20    Date Filed: 03/22/2024




                    CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A) because the motion contains 3,059 words excluding the parts of the

motion exempted by Fed. R. App. P. 32(f) and Fifth Circuit Rule 32.2. This

motion complies with the typeface and type style requirements of Fifth Circuit

Rule 32.1 and Fed. R. App. P. 32(a)(5) and 32(a)(6), respectively, because this

motion has been prepared in a proportionately spaced typeface using

Microsoft Word in Century Expanded BT 14-point font.

Dated: March 22, 2024                       /s/ John Elwood
                                            John Elwood

                                            Counsel for Appellant
                                            Pharmaceutical Research and
                                            Manufacturers of America




                                       17
